Case 1:08-cr-00274-PLM         ECF No. 306, PageID.1491          Filed 07/16/10     Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                    Case No. 1:08-cr-274-15
v.
                                                    HONORABLE PAUL L. MALONEY
ALVIN MAURICE ANDERSON,

                  Defendant.
___________________________________/


             ORDER DENYING MOTION TO WITHDRAW AS ATTORNEY
             AND GRANTING EXTENSION OF DEADLINE TO PLEA AND
                    RECEIVE 3RD-LEVEL OF ACCEPTANCE

       This matter is before the Court on Ray E. Richards, II's Motion to Withdraw as Attorney

for defendant Alvin Maurice Anderson (Dkt. #293). For the reasons and grounds set forth in the

opinion from the bench on today's date which is incorporated herein by reference,

       IT IS HEREBY ORDERED that the Motion to Withdraw as Attorney (Dkt. #293) is

DENIED without prejudice.

       IT IS FURTHER ORDERED that defendant's oral request for extension of time to enter

a guilty plea and receive 3rd-level of acceptance is GRANTED. The deadline is extended to

August 6, 2010.



Date: July 16, 2010                                  /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    Chief United States District Judge
